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                     EXHIBIT “2”
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STEVEN T. HENESY
PARTNER
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steven.henesy@rivkin.com


                                                               January 10, 2023

Via Electronic and Overnight Mail
Bruce S. Rosenberg, Esq.
Rosenberg Law, PA
499 NW 70th Avenue, Suite 212
Plantation, Florida 33317
rosenberg@rosenberglawpa.com

            Re:            NOTICE OF DEFAULT UNDER SETTLEMENT AGREEMENT
                           Government Employees Insurance Co., et al. v. Utter, et al.
                           Case No. 6:22-cv-01711-CEM-EJK
Dear Mr. Rosenberg:

        As you know, we represent Government Employees Insurance Co., GEICO Indemnity Co.,
GEICO General Insurance Company and GEICO Casualty Co. (collectively “GEICO”) in the above-
referenced matter. I write pursuant to Sections 2 and 7 of the November 21, 2022 Settlement and
Release Agreement (the “Agreement”) in this action, to provide you with notice of a default by
Defendants Ronald Jack Travis Utter, D.C., Halifax Chiropractic & Injury Clinic, Inc., No Utter Way
Inc. d/b/a Preferred Injury Physicians, Inc., Preferred Injury Physicians of Brandon, Inc., Preferred
Injury Physicians of Kissimmee, Inc., Preferred Injury Physicians of Town & Country, Inc., Preferred
Injury Physicians of Orange City, Inc. d/b/a Preferred Injury Physicians of Deltona, Preferred Injury
Physicians of Wesley Chapel, Inc., Preferred Injury Physicians of Temple Terrace, Inc., Preferred
Injury Physicians of St. Petersburg, Inc., Preferred Injury Physicians of East Orlando, Inc., and Florida
Injury Physicians, Inc. (the “Defendants”).

       In particular, pursuant to Section 2 of the Agreement, the Defendants were due to pay GEICO
settlement proceeds of $550,000.00 on or before December 15, 2022. However, the five checks
provided by the Defendants to satisfy the settlement proceeds all bounced for insufficient funds.
Accordingly, the Defendants have failed to pay the settlement proceeds of $550,000.00 on or
before December 15, 2022, and are in default of their payment obligations under the Agreement.
If your clients do not cure their default within the next fifteen (15) days, by paying GEICO the
$550,000.00 that is past due under the Agreement, GEICO will immediately move to enforce the
Agreement and enter judgment against your clients pursuant to Section 2 of the Agreement –
and GEICO will seek all available attorney’s fees and costs it incurs in connection with its
enforcement of the Agreement.



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 Albany, NY 12203-1005            West Wing, Suite 158                 New York, NY 10022-5843           Poughkeepsie, NY 12601-6843
 T 518.462.3000 F 518.462.4199    Hackensack, NJ 07601-7021            T 212.455.9555 F 212.687.9044     T 845.473.8100 F 845.473.8777
                                  T 201.287.2460 F 201.489.0495
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         Please be guided accordingly. All rights reserved.

                                              Very truly yours,

                                              RIVKIN RADLER LLP

                                              /s/
                                              Steven T. Henesy

cc:      Via Email
         Max Gershenoff, Esq.
         John Marino, Esq.




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